       Case 2:20-cv-05654-MWF-ADS Document 6 Filed 07/02/20 Page 1 of 11 Page ID #:89

                                                                             FILtD
 1
   Nathalie Dubois
 2 13428 Maxella Ave. Suite 274                                      ~~?~ JflL -2 PM 12~ 29
   Marina Del Rey, CA 90292
 3
   Tel. 310-482-9111
                                                                                   ~~_ _ ....
 4                                                                    ,,
                                                                           _..._
        Plaintiff In Pro Se
 5

 6

 7
                               UNITED STATES DISTRICT COURT
 8

 9
                 CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION

10

11 .
                                                        Case No.: 20-CV-5654-MWF(ADSx)
         AVI PUR LLC,ANNA SHOYKI~T,
12       ABRIELLE SHOYKHET,                         DEFENDANT NATHALIE DUBOIS,
13
                                                    INDIVIDUALLY AND DOING
                          Plaintiffs,               BUSINESS AS DUBOIS PELIN
14                                                  ASSOCIATES GROUP NOTICE OF
15      vs.                                         MOTION AND MOTION TO DISMISS
                                                    PURSUANT TO FEDERAL RULES OF
16       ATHALIE DUBOIS,DUBOIS PELIN                CIVIL PROCEDURE RULE 12(b)(6);
17       SSOCIATES GROUP,and DOES 1                 MEMORANDUM OF POINTS AND
         Trough 10,                                 AUTHORITIES
18                  Defendants.
19                                                  DATE: AUGUST 3, 2020
                                                    TIME: 10:00 AM
20                                                  CTRM: SA
21

22     TO THE COURT,ALL PARTIES,AND THEIR ATTORNEYS OF
23     RECORD:
24            PLEASE TAKE NOTICE that on August 3, 2020, at 10:00 a.m., or as soon
25     thereafter as may be heard, in Courtroom SA, of the above-entitled Court located at First
26     Street Courthouse, 350 West First Street Street, Los Angeles, California, defendant
27     NATHALIE DUBOIS,INDIVIDUALLY AND DOING BUSINESS AS DUBOIS
28
                                                    1
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 1    PELIN ASSOCIATES GROUP ("Defendant") will and hereby does move this Court for
 2 an order dismissing, with prejudice, the First Amended Complaint
 3 ("FAC")of CAVI PUR LLC, ANNA SHOYKI-~T and GABRIELLE SHOYKHET,
 4    ("Plaintiffs").
 5          This Motion is made and based upon Rule 12(b)(6) ofthe Federal Rules of
 6 Civil Procedure, and is based on the ground that Plaintiffs fail to state a claim
 7 upon which relief may be granted and the FAC is barred as a matter oflaw.
 8          This Motion is based upon this Notice of Motion and Motion, the attached
 9 Memorandum ofPoints and Authorities, and upon all papers and documents on
10 file herein, the Court's files concerning this action, together with those facts and
11    documents of which the parties request judicial notice and/or matters which
12 judicial notice is proper, as well as any oral argument that may be presented at the
13 time ofthe hearing.
14          Pursuant to Local Rule 7-9 and 7-10, any opposition to this Motion must be filed
15    no less than 21 days before the hearing date. A reply to the opposition must be filed no
16 less than 14 days before the hearing date.

17 Dated: July 2, 2020
18
19
20
   Natha ie Dubois
21
   Defendant Pro Se individually and doing business
22 as Dubois Pelin Associates Group
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24
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                                                   2
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                 I.

 3                                       INTRODUCTION
 4           This is a breach of contract action against Defendant in connection with access to
 5    sell Plaintiffs' wares to film celebrities at the Intercontinental Carlton Hotel in Cannes,
 6 France during the Cannes Film Festival in May 2019.
 7          On May 29, 2020, Plaintiffs filed their First Amended Complaint("FAC")in the
 8 Los Angeles Superior Court asserting the following claims against Dubois:(1)Breach
 9 of Contract;(2) Conversion,(3)Unfair Business Practices,(4) Assault,(5)Fraud and
10 Deceit; and Intentional and Negligent Infliction of Emotional Distress.(FAC at pp. 1-
11    11.) Plaintiffs seek general, special, consequential, incidental, exemplary, treble and
12 punitive damages, as well as attorneys' fees, prejudgment interest and restitution.(FAC
13    at p. 11.)

14          The case was removed to this Court on June 25, 2020.
15                                                II.

16                                          ARGUMENT
17 A.       STANDARDS APPLICABLE TO A MOTION TO DISMISS
18          A court should dismiss a complaint when its allegations fail to state a claim
19 upon which relief can be granted. Federal Rules ofCivil Procedure("FRCP"), Rule
20    12(b)(6). Although a complaint need only include "a short and plain statement of the
21    claim showing that the pleader is entitled to relief'(FRCP Rule 8(a)(2)), it must allege
22 "sufficient factual matter, accepted as true, to `state a claim to relief that is plausible on
23   its face."' Ashcroft v. Iqbal, 129 U.S. 662, 678(2009)(quoting Bell Atlantic Corp. v.
24    Twombly,550 U.S. 544, 570(2007))."A claim has facial plausibility when the pleaded
25   factual content allows the court to draw the reasonable inference that the defendant is
26 liable for the misconduct alleged." Ashcroft, supra, 129 U.S. at 663 (citing Twombly,
27 supra, 550 U.S. at 556). A court should not accept "threadbare recitals of a cause of
28
                                                    3
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 1    action's elements, supported by mere conclusory statements"(Id.), or "allegations that
 2 are merely conclusory, unwarranted deductions of fact, or unreasonable inferences."
 3
      Sprewell v. Golden State Warriors, 266 F.3d 979,988 (9th Cir. 2001). The Ninth Circuit
 4
      addressed post-Ashcroft pleading standards in Starr v. Baca,652 F.3d 1202, 1216 (9th
 5
      Cir. 2011). The Starr Court opined:
 6
            "[fJirst, to be entitled to the presumption oftruth, allegations in a complaint or
 ~          counterclaim may not simply recite the elements of a cause of action, but must contain
 g          sufficient allegations of underlying facts to give fair notice and to enable the opposing
            party to defend itself effectively. Second,the factual allegations that are taken as true
 g          must plausibly suggest an entitlement to relief, such that it is not unfair to require the
            opposing party to be subjected to the expense of discovery and continued litigation." Id.
10
            Additionally, matters that are properly the subject ofjudicial notice may be
11
      considered along with a complaint when deciding a motion to dismiss for failure to state
12
      a claim. MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504(9th Cir. 1986)(a Court
13
      may take judicial notice of public records); Chandler v. United States, 378 F.2d 906,
14
     909(9th Cir. 1967)(a Court may take judicial notice of its own records or records of
15
      any other Court). As demonstrated herein, Plaintiffs' FAC consists of faulty legal
16
     theories and threadbare recitals admonished above and it simply cannot survive this
17
      Motion to Dismiss. Therefore this Motion to Dismiss should be granted without leave to
18
     amend.
19
     B.     COUNT I FOR BREACH OF CONTRACT FAILS TO STATE
20
            SUFFICIENT FACTS TO STATE A CAUSE OF ACTION AS A MATTER
21
            OF LAW
22
            Plaintiffs allege breach of contract against Defendant.[FAC ¶¶ 37-49].
23
            Code ofCiv. Proc. § 367 provides:"Every action must be prosecuted in the name
24
     of the real party in interest, except as otherwise provided by statute." See Gantman v.
25
      United Pac. Ins. Co.(1991)232 Cal.App.3d 1560, 1566; Jasmine Networks, Inc. v.
26
     Sup.Ct. (Marvell Semiconductor, Inc.)(2009) 180 Ca1.App.4th 980, 991.
27

28
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 1          To prevail on a breach of contract claim, the Plaintiffs will need to establish each
 2 of these essential elements:(1)the contract,(2)the plaintiff's performance ofthe
 3    contract or excuse for nonperformance,(3)the defendant's breach, and (4)the resulting
 4 damage to the plaintiff."(Richman v. Hartley(2014)224 Ca1.App.4th 1182, 1186.)
 5          Plaintiff attach as E~ibit 1 to the FAC the alleged contract. The only party
 6    mentioned in the Exhibit as purchasing a position as a "Company participating sponsor"
 7 is the Plaintiff Cavi Pur, LLC. Plaintiffs Anna Shoykhet and Gabrielle Shoykhet are not
 8    parties to the agreement and thus have no standing under Code ofCiv. Proc. § 367 and
 9 do not state facts sufficient to state a cause of action for breach of contract.
10 C.       COUNT II FOR CONVERSION FAILS TO STATE SUFFICIENT FACTS
11          TO STATE A CAUSE OF ACTION AS A MATTER OF LAW
12         Plaintiffs allege conversion against Defendant.[FAC ¶¶ 50-56].
13          "Conversion is the wrongful exercise of dominion over the property of another.
14 The elements of a conversion claim are:(1)the plaintiff's ownership or right to
15   possession of the property;(2)the defendant's conversion by a wrongful act or
16   disposition of property rights; and (3) damages."(Lee v. Hanley(2015)61 Ca1.4th 1225,
17    1240.)
18         "It is necessary to show an assumption of control or ownership over the property,
19 or that the alleged converter has applied the property to his own use." ...'"(Shopoff&
20   Cavallo LLP v. Hyon(2008) 167 Ca1.App.4th 1489, 1507.)
21         "`To establish a conversion, plaintiff must establish an actual interference with
22 his ownership or right of possession.... Where plaintiff neither has title to the property
23   alleged to have been converted, nor possession thereof, he cannot maintain an action for
24   conversion.'"(Moore v. Regents ofthe Univ. ofCal. (1990)51 Cal.3d 120, 136.)
25         Plaintiffs completely fail to allege who has ownership of the alleged product that
26   was converted by Defendant. Exhibit 1 at page two states that the "Sponsor" which is
27 Cavi Pur, LLC is to provide product. Neither of the individual plaintiffs inserted in the
28   contract that either of them were providing product that was owned by them!
                                                   E
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 1    D.    COUNT III FOR VIOLATION OF CALIFORNIA'S UNFAIR CLAIMS
 2          ACT SECTION 17200,ET SEQ. FAILS TO STATE SUFFICIENT FACTS
 3          TO STATE A CAUSE OF ACTION AS A MATTER OF LAW
 4          Plaintiffs allege violation of California's Unfair Claims Act Section 17200, et seq.
 5    against Defendant.[FAC ¶¶ 57-62].
 6          A UCL plaintiff must:"(1) establish a loss or deprivation of money or property
 7 sufficient to qualify as injury in fact, i.e., economic injury, and (2)show that that
 8   economic injury was the result of, i.e., caused by, the unfair business practice or false
 9 advertising that is the gravamen of the claim. Kwikset Corp. v. Superior Court, 51 Cal.
l0 4th 310, 322(2011).
11          Since Cavi Pur, LLC is the only contracting party with Defendant and which paid
12 for Sponsorship and provided the product, it is factually impossible for individual
13   Plaintiffs to state a cause of action under Section 17200.
14 E.      COUNT IV FOR ASSAULT FAILS TO STATE SUFFICIENT FACTS TO
15         STATE A CAUSE OF ACTION AS A MATTER OF LAW
16         Plaintiffs allege assault against Defendant.[FAC ¶¶ 63-69).
17         The essential elements of a cause of action for assault are:(1)defendant acted
18   with intent to cause harmful or offensive contact, or threatened to touch plaintiff in a
19   harmful or offensive manner;(2)plaintiff reasonably believed she was about to be
20 touched in a harmful or offensive manner or it reasonably appeared to plaintiff that
21   defendant was about to carry out the threat;(3) plaintiff did not consent to defendant's
22 _conduct;(4) plaintiff was harmed; and (5) defendant's conduct was a substantial factor
23   in causing plaintiff's harm."(So v. Shin (2013)212 Ca1.App.4th 652, 668-669.)
24         "`Generally speaking, an assault is a demonstration of an unlawful intent by one
25   person to inflict immediate injury on the person of another then present.'"(Plotnik v.
26   Meihaus (2012)208 Cal. App. 4th 1590, 1603-1604.)
27         "A civil action for assault is based upon an invasion of the right of a person to
28   live without being put in fear of personal harm."(Lowry v. Standard Oil Co. of
                                                   C7
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 1    California (1944)63 Cal.App.2d 1, 6-7.)
 2          "Furthermore,... `while apprehension ofthat contact is the basis of assault
 3 [citation,][m]ere words, however threatening, will not amount to an assault.
 4 [Citations.]'"(Plotnik, supra, 208 Ca1.App.4th at p. 1604.)
 5          Restatement Second of Torts, section 21 provides:(1) An actor is subject to
 6 liability to another for assault if(a)he acts intending to cause a harmful or offensive
 7 contact with the person ofthe other or a third person, or an imminent apprehension of
 8    such a contact, and (b)the other is thereby put in such imminent apprehension.(2)An
 9 action which is not done with the intention stated in Subsection (1, a) does not make the
10 actor liable to the other for an apprehension caused thereby although the act involves an
11    unreasonable risk of causing it and, therefore, would be negligent or reckless if the risk
12 threatened bodily harm.
13          There are no allegations that Nathalie acted with intent to cause an apprehension,
14 that Anna was in fear of a harmful touching, and that there were any damages as a result
15   of Nathalie blocking Anna from entering the suite. Anna attempts to reinforce her lack
16   of sufficient facts by allegations of controversial statements by Nathalie which are
17   defective as a matter of law.
18                 There are no allegations of that Defendant as a matter oflaw did anything
19 to Gabrielle that constitutes an assault.
20                There are no allegations of that Defendant as a matter oflaw did anything
21   to Cavi Pur, LLC or that such could be possible that constitutes an assault. Defendant
22   asserts as a matter oflaw the Court should sustain without leave since it is legally
23   impossible to assault Cavi Pur, LLC.
24   F.     COUNT V FOR FRAUD AND DECEIT FAILS TO STATE SUFFICIENT
25          FACTS TO STATE A CAUSE OF ACTION AS A MATTER OF LAW
26          Plaintiffs allege Fraud and Deceit against Defendants.[FAC ¶¶ 70-78].
27          "The elements of fraud that will give rise to a tort action for deceit are:"`(a)
28   misrepresentation (false representation, concealment, or nondisclosure);(b) knowledge
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 1    of falsity (or `scienter');(c)intent to defraud, i.e., to induce reliance;(d)justifiable
 2 reliance; and (e) resulting damage.'"(Engalla v.
 3 Permanente Medical Group, Inc.(1997) 15 Ca1.4th 951,974.)
 4          "A complaint for fraud must allege the following elements:(1)a knowingly false
 5    representation by the defendant;(2)an intent to deceive or induce reliance;(3)
 6 justifiable reliance by the plaintiff; and (4)resulting damages."(Service by Medallion,
 7 Inc. v. Clorox Co.(1996)44 Ca1.App.4th 1807, 1816).
 8          "Puffing," or sales talk, is generally considered opinion, unless it involves a
 9 representation of product safety.(Hauter v. Zogarts(1975) 14 Ca1.3d 104, 112.)
10          "Fraud is an intentional tort; it is the element offraudulent intent, or intent to
11    deceive, that distinguishes it from actionable negligent misrepresentation and from
12 nonactionable innocent misrepresentation. It is the element of intent which makes fraud
13    actionable, irrespective of any contractual or fiduciary duty one party might owe to the
14 other."(City ofAtascadero v. Merrill Lynch, Pierce, Fenner &Smith (1998)68
15    Ca1.App.4th 445, 482.)
16         "A promise of future conduct is actionable as fraud only if made without a
17 present intent to perform. `A declaration of intention, although in the nature of a
18   promise, made in good faith, without intention to deceive, and in the honest expectation
19 that it will be fulfilled, even though it is not carried out, does not constitute a fraud.'
20 Moreover, ` "something more than nonperformance is required to prove the defendant's
21   intent not to perform his promise." ...[I]f plaintiff adduces no further evidence of
22 fraudulent intent than proof of nonperformance of an oral promise, he will never reach a
23 jury.'"(Magpali v. Farmers Group, Inc. (1996)48 Ca1.App.4th 471, 481.)
24          The facts constituting fraud must be specifically pleaded so that the court can
25   determine from the complaint whether a prima facie case is alleged. Cooper v. Leslie
26 Salt Co.(1969)70 Cal. 2d 627, 636; GoldYich v. Natural YSurgical Specialties, Inc.
27 (1994)25 Ca1.App 4th 772, 782-783 (conclusory allegation that defendants made false
28 representations without indicating specifically what was said by whom or in what
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 1    manner, lacked the requisite specificity for pleading fraud). General allegations are
 2 insufficient. Morton v. Loveman (1968)267 Ca1.App.2d 712, 720. Every element of the
 3    cause of action for fraud must be alleged in the proper manner, factually and
 4 specifically. Lesperance v. North Am. Aviation, Inc.(1963)217 Ca1.App.2d 336, 344.
 5           Plaintiffs also fail to plead any specificity of Defendant's intent to defraud to
 6    survive scrutiny under the heightened pleading requirements ofRule 9(b).
 7 G.         COUNT VI FOR EMOTIONAL DISTRESS FAILS AS A MATTER OF
 8            LAW
 9          Plaintiffs allege Intentional and Negligent Emotional Distress against Defendants.


11          "A cause of action for intentional infliction of emotional distress exists when
12 there is `(1) extreme and outrageous conduct by the defendant with the intention of
13    causing, or reckless disregard ofthe probability of causing, emotional distress;(2)the
14    plaintiffs suffering severe or extreme emotional distress; and (3)actual and proximate
15    causation of the emotional distress by the defendant's outrageous conduct.' A
16    defendant's conduct is `outrageous' when it is so `extreme as to exceed all bounds of
17 that usually tolerated in a civilized community.' And the defendant's conduct must be
18    `intended to inflict injury or engaged in with the realization that injury will result.'"
19 Hughes v. Pair(2009)46 Ca1.4th 1035, 1050-1051."Conduct to be outrageous must be
20 so extreme as to exceed all bounds ofthat usually tolerated in a civilized community."
21   Davidson v. City of Westminster(1982)32 Ca1.3d 197, 209. "[L]iability `does not
22 extend to mere insults, indignities, threats, annoyances, petty oppressions, or other
23   trivialities. ... There is no occasion for the law to intervene ...where someone's
24   feelings are hurt.'"Agarwal v. Johnson (1979)25 Ca1.3d 932,946, quoting Rest.2d
25   Torts, § 46, com. d, overruled on other grounds in White v. Ultramar, Inc. (1999)21
26   Cal.4th 563, 579-580.
27            First, Cavi Pur, LLC cannot allege damages for emotional distress. Secondly,
28   the allegations are not sufficiently outrageous to constitute as a matter of law, emotional
                                                    E
Case 2:20-cv-05654-MWF-ADS Document 6 Filed 07/02/20 Page 10 of 11 Page ID #:98




 distress.
                                          III.
                                    CONCLUSION
         For the above stated reasons, Defendant requests the Court grant her Motion
 and Dismiss the Plaintiffs' First Amended Complaint with prejudice.


 Dated: July 2, 2020


    ~~9 ~~ /~
 Nathalie Dubois
 Defendant Pro Se individually and doing business
 as Dubois Pelin Associates Group
     Case 2:20-cv-05654-MWF-ADS Document 6 Filed 07/02/20 Page 11 of 11 Page ID #:99




 1                              CERTIFICATE OF SERVICE
 2
 3 STATE OF CALIFORNIA,COUNTY OF LOS ANGELES

 4 I am employed in the County of Los Angeles, State of California. I am over the age of
 5 18 and not a party to the within action. My business address is 13428 Maxella Ave.
   Suite 274, Marina Del Rey, CA 90292
 6
 ~  On July 2, 2020, I served true copies ofthe foregoing documents) described as:
    DEFENDANT NATHALIE DUBOIS,INDIVIDUALLY AND DOING BUSINESS AS
  8 DUBOIS PELIN ASSOCIATES GROUP NOTICE OF MOTION AND MOTION TO
 9 DISMISS PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE RULE
    12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES on the interested
10 parties in this action by placing a true and correct copy of the document thereof
1 1 enclosed in sealed envelopes addressed as follows:
12 Natalia Mazina, Esq.                   Attorneys for Plaintiffs Cavi Pur LLC, Anna
13 Amanpreet Kaur, Esq.                   Shoykhet, Gabrielle Shoykhet
   MAZJNA LAW
14 10866 Wilshire Blvd., 4th Floor

15 Los Angeles, CA 90024
16 (BY MAIL)I deposited such envelope in the mail at Los Angeles, California. The
17 envelope was mailed with postage thereon fully prepaid.

18 I declare under the penalty of perjury under the laws of the United States of America
19 that the foregoing is true and correct.

20 Executed this 2nd day of July 2020 at Marina del Rey, CA.
21

22

23
      Ab u acar Sissoko
24

25

26

27

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